     Case11-72297
    Case: 1:25-cv-10676-BEM
                     04/10/2012 Document 59-7 Filed
                                    ID: 8134205     04/08/25
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                     UNITED STATES COURT OF APPEALS                           APR 10 2012

                                                                          MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                         U .S. C O U R T OF APPE ALS




 ALONSO RAMIREZ-CHAVEZ,                          No. 11-72297
                                                 PRO BONO
               Petitioner,
                                                 Agency No. A039-812-513
   v.

 ERIC H. HOLDER, Jr., Attorney General,          ORDER

               Respondent.



Before: CANBY and FISHER, Circuit Judges.

        This petition for review was filed August 9, 2011, along with a motion for

stay of removal, which resulted in a temporary stay of removal as of that date. See

Ninth Circuit General Orders 6.4(c). Petitioner had filed a previous petition for

review in docket no. 11-71741, which petitioner voluntarily dismissed on

September 2, 2011. Respondent was aware of the fact that two petitions for review

had been filed because it filed a motion on October 3, 2011 to file the

administrative record from the 11-71741 petition in this petition for review.

Respondent was further aware that there was a temporary stay of removal in this

docket no later than October 5, 2011, when this court granted the October 3, 2011

motion and directed respondent to file a response to the pending motion for stay of

sg/Pro Bono




                                                                             EXHIBIT G
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    Case: 1:25-cv-10676-BEM
                     04/10/2012 Document 59-7 Filed
                                    ID: 8134205     04/08/25
                                                 DktEntry: 18 Page
                                                               Page:2 2ofof2 2



removal in this docket. This court granted the opposed motion for stay of removal

on January 11, 2012.

        Despite respondent’s clear and unequivocal knowledge, no later than

October 5, 2011, that a stay of removal was in effect in this docket, petitioner was

removed on October 19, 2011. Respondent states in its notice of such removal to

this court, filed on January 24, 2012, that the Department of Homeland Security

(DHS) was “understandably unaware” of this petition for review and the stay that

was in effect at the time of petitioner’s removal. We disagree that DHS’ violation

of the stay of removal was understandable in light of respondent’s actual

knowledge of the pendency of this petition and the stay in place at the time of

petitioner’s removal.

        Respondent is hereby directed to make substantial further attempts to locate

petitioner and to return him to this country. Within 28 days from the date of this

order respondent shall file a status report that describes in detail all efforts made by

respondent to locate and return petitioner, using every contact and address at their

disposal.

        Petitioner’s counsel’s motion to withdraw as pro bono counsel and all other

proceedings in this petition for review are held in abeyance pending further order

of this court.


sg/Pro Bono                                                                      11-72297
